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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.:

 ALFRED CLARK, JR.,
 JASON ADOLPHUS DAVIDS,

                Plaintiffs,
 v.

 NATIONWIDE HVAC CORP,
 ARSEN GRITSENKO,
 LUKASZ KOZOWY,

             Defendants.
 __________________________________/

                                          COMPLAINT
                                      {Jury Trial Demanded}

         Plaintiffs, ALFRED CLARK, JR. and JASON ADOLPHUS DAVIDS, bring this action

 against Defendants, NATIONWIDE HVAC CORP, ARSEN GRITSENKO, and LUKASZ

 KOZOWY, pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C § 201 et seq., and allege

 as follows:

 1.      Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.      At all times material hereto, Plaintiffs ALFRED CLARK, JR.and JASON ADOLPHUS

 DAVIDS were residents of the State of Florida and “employees” of Defendants as defined by the

 FLSA.

 3.      At all times material hereto, Defendant, NATIONWIDE HVAC CORP, was a Florida

 corporation with its principal place of business in South Florida, engaged in commerce in the field

 of installation, repair, and service of HVAC units, at all times material hereto was the “employer”

 of Plaintiffs as that term is defined under statutes referenced herein, engaged along with its




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 employees in interstate commerce, and has annual gross sales and/or business volume of $500,000

 or more.

 4.     Defendant, ARSEN GRITSENKO, is a resident of Broward County, Florida and was, and

 now is, a manager of Defendant, NATIONWIDE HVAC CORP, and controlled Plaintiffs’ duties,

 hours worked, and compensation. Accordingly, ARSEN GRITSENKO was and is an “employer”

 of the Plaintiffs within the meaning of 29 U.S.C. §203(d).

 5.     Defendant, LUKASZ KOZOWY, is a resident of Broward County, Florida and was, and

 now is, a manager of Defendant, NATIONWIDE HVAC CORP, and controlled Plaintiffs’ duties,

 hours worked, and compensation. Accordingly, LUKASZ KOZOWY was and is an “employer” of

 the Plaintiffs within the meaning of 29 U.S.C. §203(d).

 6.     Plaintiffs worked for Defendants as installers and service techs.

 7.     Defendants failed to pay Plaintiffs their full and proper overtime wages of 1.5 times

 Plaintiffs’ regular hourly rates of pay for all hours worked over 40 each week.

 8.     Attached as Exhibit A and Exhibit B are preliminary calculations of Plaintiffs’ claims.

 These amounts may change as Plaintiffs engage in the discovery process.

 9.     Defendants have knowingly and willfully refused to pay Plaintiffs their legally-entitled

 wages by failing to pay their full and proper overtime wages.

 10.    Plaintiffs have complied with all conditions precedent to bringing this suit, or same have

 been waived or abandoned.

 11.    Plaintiffs have retained the services of the undersigned and are obligated to pay for the

 legal services provided.




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                                     COUNT I
                 VIOLATION OF FAIR LABOR STANDARDS ACT (“FLSA”)
                                ALL DEFENDANTS

 12.     Plaintiffs reallege and incorporate the allegations set forth in paragraphs 1-11 above as if

 set forth herein in full.

 13.     Plaintiffs allege this action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 216 (b),

 that Plaintiffs are entitled to: (i) time-and-a-half overtime pay and (ii) liquidated damages pursuant

 to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

 14.     Plaintiffs seek recovery of damages as referenced above and further seek interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

         WHEREFORE, Plaintiffs demand judgment against Defendants, jointly and severally, plus

 costs, reasonable attorneys’ fees, and such other remedy as the court deems just and appropriate.

                                                Respectfully submitted,

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